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 8                                    UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-00158-JAM

12                                Plaintiff,            ORDER GRANTING RULE 35 MOTION

13                          v.

14   BRYCE BEAVER,

15                               Defendant.

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17          Upon consideration of the United States’s motion pursuant to Rule 35 of the Federal Rules of

18 Criminal Procedure filed on November 21, 2016, and for the reasons set forth in the United States’s

19 motion, the Court GRANTS the United States’s Rule 35 motion. The Court’s May 24, 2016 Judgment

20 imposing a sentence of incarceration of one year and one day shall be reduced by six months to a total

21 term of TIME SERVED. Accordingly, defendant Bryce Beaver shall be released from the custody of

22 the Bureau of Prisons as soon as practicable. The Bureau of Prisons shall have such time as is necessary

23 for orderly outprocessing of the defendant. All other aspects of the original judgment shall remain in full

24 force and effect. IT IS SO ORDERED.

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26    Dated: 12/9/2016                                      /S/ John A. Mendez
                                                      THE HONORABLE JOHN A. MENDEZ
27                                                    UNITED STATES DISTRICT COURT JUDGE
28


      ORDER GRANTING RULE 35 MOTION                      1
